      Case 1:23-cv-02508-NRB   Document 136-1   Filed 12/26/24   Page 1 of 18




                 LETTER TO THE HONORABLE
                  NAOMI REICE BUCHWALD,
                    dated December 26, 2024




                       Exhibit A


4911-8942-9257
      Case 1:23-cv-02508-NRB          Document 136-1       Filed 12/26/24      Page 2 of 18
                                                                            Exhibit A to Letter,
                                                                      dated December 26, 2024
                                                                                        Page 1

                 A. SKAT’s Knowledge of the 2019 Amendment to CPLR 3218
                        Plaintiffs’ RFAs 17-21/McGee’s RFAs 21-23

Plaintiffs’ RFA No. 17/McGee’s RFA No. 21:

         Admit that, prior to the execution of the Updated Affidavit of Confession of Judgment,
         SKAT’s outside counsel had knowledge of the August 2019 amendment to CPLR 3218.

SKAT’s Response to Plaintiffs’ RFA No. 17/McGee’s RFA No. 21:

         Request No. 17 [or 21] concerns SKAT’s counsel’s legal knowledge and assessment of
         issues relevant to this litigation, which is an improper and privileged subject.

Plaintiffs’ RFA No. 18:

         Admit that, prior to the execution of the Updated Affidavit of Confession of Judgment,
         SKAT’s outside counsel had knowledge that the August 2019 amendment to CPLR 3218
         might impact the enforceability of the Updated Affidavit of Confession of Judgment as to
         Lhote and/or McGee.

SKAT’s Response to Plaintiffs’ RFA No. 18:

         Request No. 18 concerns SKAT’s counsel’s legal knowledge and assessment of issues
         relevant to this litigation, which is an improper and privileged subject.

Plaintiffs’ RFA No. 19/McGee’s RFA No. 22:

         Admit that, prior to the execution of the Updated Affidavit of Confession of Judgment,
         SKAT’s outside counsel did not have knowledge of the August 2019 amendment to
         CPLR 3218.

SKAT’s Response to Plaintiffs’ RFA No. 19/McGee’s RFA No. 22:

         Request No. 19 [or 22] concerns SKAT’s counsel’s legal knowledge and assessment of
         issues relevant to this litigation, which is an improper and privileged subject.

Plaintiffs’ RFA No. 20:

         Admit that, prior to the execution of the Updated Affidavit of Confession of Judgment,
         SKAT’s outside counsel did not have knowledge that the August 2019 amendment to
         CPLR 3218 might impact the enforceability of the Updated Affidavit of Confession of
         Judgment as to Lhote and/or McGee.




4886-1895-1921
4886-1895-1921
      Case 1:23-cv-02508-NRB         Document 136-1       Filed 12/26/24     Page 3 of 18
                                                                           Exhibit A to Letter,
                                                                     dated December 26, 2024
                                                                                       Page 2

SKAT’s Response to Plaintiffs’ RFA No. 20:

         Request No. 20 concerns SKAT’s counsel’s legal knowledge and assessment of issues
         relevant to this litigation, which is an improper and privileged subject.

Plaintiffs’ RFA No. 21/McGee’s RFA No. 23:

         Admit that, prior to the execution of the Updated Affidavit of Confession of Judgment,
         SKAT’s outside counsel had knowledge that it was necessary to update the residences of
         Lhote and/or McGee in order to execute the Updated Affidavit of Confession of
         Judgment in or about June 2021.

SKAT’s Response to Plaintiffs’ RFA No. 21/McGee’s RFA No. 23:

         Request No. 21 [or 23] concerns SKAT’s counsel’s legal knowledge and assessment of
         issues relevant to this litigation, which is an improper and privileged subject.




4886-1895-1921
4886-1895-1921
      Case 1:23-cv-02508-NRB           Document 136-1        Filed 12/26/24     Page 4 of 18
                                                                              Exhibit A to Letter,
                                                                        dated December 26, 2024
                                                                                          Page 3

                 B. SKAT’s Obligations Under Phase II of the Settlement Agreement
                                 Plaintiffs’ Interrogatory No. 21

Plaintiffs’ Interrogatory No. 21:

         Identify all of SKAT’s contractual obligations under the Settlement Agreement that
         required any actions by SKAT, or SKAT’s refraining from any actions, after its receipt of
         the Initial Cash Payment.

SKAT’s Response to Plaintiffs’ Interrogatory No. 21:

         SKAT incorporates by reference Objections 1, 3, 4, and 5. SKAT objects to Interrogatory
         No. 21 as premised on an incorrect understanding of the Settlement Agreement belied by
         its unambiguous and expressly stated terms. SKAT states that its contractual obligations
         under the Settlement Agreement are not specifically triggered by its receipt of the Initial
         Cash Payment, with the exception of: (i) release of the Covered Parties upon completion
         of the Initial Cash Payment (§ 4) and (ii) dismissal of claims against Adam LaRosa (§
         3.a).

Plaintiffs’ Amended Complaint ¶¶ 46-52:

        46.     Under the first phase of the obligations under the Settlement Agreement (“Phase
I”), Stein, Lhote, McGee, and others were required to make to SKAT an initial cash payment of
950 million Danish kroner (“DKK”).

        47.    Upon the payment of the initial cash payment of DKK 950 million, SKAT
“forever and finally generally release[d], waive[d] and discharge[d]” Stein, Lhote, McGee, and
others from all claims broadly associated with the dividend tax refund applications.

        48.     Under the Settlement Agreement, SKAT’s release of all claims broadly associated
with the dividend tax refund obligations is not dependent upon the satisfaction of any conditions
other than the initial cash payment of DKK 950 million and is not affected by the parties’
conduct thereafter.

        49.     By on or about August 8, 2019, the initial cash payment was completed. At or
about the time of the Settlement Agreement, DKK 950 million was the approximate U.S. dollar
equivalent of $142.6 million. As a result on the initial cash payment, SKAT is bound by its
release of Stein, Lhote, McGee, and others.

       50.     Phase I also required that, simultaneously with the initial cash payment of DKK
950 million, Stein, Lhote, and McGee provide to SKAT an affidavit of confession of judgment.
The purpose of the affidavit of confession of judgment was to facilitate SKAT’s collection of
payments to be made during the second phase of the settlement agreement (“Phase II”).

      51.     On or about August 8, 2019, Stein, Lhote, and McGee provided an Affidavit of
Confession of Judgment (the “2019 Affidavit of Confession of Judgment”).


4886-1895-1921
4886-1895-1921
      Case 1:23-cv-02508-NRB           Document 136-1        Filed 12/26/24     Page 5 of 18
                                                                              Exhibit A to Letter,
                                                                        dated December 26, 2024
                                                                                          Page 4

         52.     The parties’ performance of the Phase I obligations is complete.

Plaintiffs’ Amended Complaint ¶¶ 53-69:

        53.    Stein, Lhote, and McGee had an extensive series of obligations under the second
phase of the Settlement Agreement (“Phase II”). For its part, SKAT had limited and discrete
obligations under Phase II.

        54.     In Phase II of the Settlement Agreement, Stein, Lhote, and McGee were required
to make a further payment of at least approximately DKK 600 million, subject to various
adjustments, on or before three years from the effective date of the Settlement Agreement, which
was extended by an additional year by operation of the Letter Agreement. Thus, the Settlement
Agreement provides that a further payment of at least approximately DKK 600 million, subject
to further adjustments, be made on or before May 28, 2023.

        55.     Stein, Lhote, and McGee were also required to “fully cooperate with the
investigation by [SKAT] of third parties” who were not released by operation of the Settlement
Agreement. The cooperation obligations included, in general, the provision of documents and
information by Stein, Lhote, and McGee and also required that Stein, Lhote, and McGee’s use of
“their best efforts to ensure that their cooperation with [SKAT] is meaningful and productive.”

       56.     In performing their obligations under Phase II of the Settlement Agreement, Stein,
Lhote, and McGee made several substantial payments. The payments by Stein, Lhote, and
McGee started in or around June 2020. These payments totaled more than approximately DKK
57.7 million, or the approximate U.S. dollar equivalent of $8.66 million.

        57.    Also as a part of their Phase II performance and pursuant to the Letter Agreement,
Stein, Lhote, and McGee provided approximately ten quarterly reports regarding the efforts by
them to liquidate certain agreed-upon assets and, thereby, generate cash to be able to make the
further payments required under Phase II of the Settlement Agreement. Stein, Lhote, and McGee
began to provide these reports beginning on or about August 26, 2019.

         58.    As a further part of their Phase II performance, Stein, Lhote, and McGee
produced over 90,000 documents to facilitate SKAT’s litigation efforts in the United States.
Stein, Lhote, and McGee also researched and answered numerous substantive questions posed by
SKAT in connection with SKAT’s prosecution of its claims against others. Stein, Lhote, and
McGee also expended substantial time and resources supporting SKAT’s requests for assistance
in its prosecution of claims against other parties in actions that SKAT initiated in Dubai, the
United Kingdom, and the United States.

        59.    As alleged above, payments to be made during Phase II of the Settlement
Agreement could be subject to various adjustments. In the event there was a “claim, controversy
or dispute” “arising out of or relating to” these adjustments that amounted to less than DKK 20
million, the approximate U.S. dollar equivalent of $2.85 million, the parties to the Settlement
Agreement agreed to arbitrate such claim, controversy, or dispute before an arbitrator identified
in the Settlement Agreement. The parties also had the right, but not the obligation, to arbitrate


4886-1895-1921
4886-1895-1921
      Case 1:23-cv-02508-NRB         Document 136-1        Filed 12/26/24     Page 6 of 18
                                                                            Exhibit A to Letter,
                                                                      dated December 26, 2024
                                                                                        Page 5

claims, controversies, or disputes relating to the payment adjustments that amounted to more
than DKK 20 million.

        60.    In exchange for what Stein, Lhote, and McGee promised to do under Phase II of
the Settlement Agreement, SKAT had only limited and discrete obligations under Phase II.
Substantially all of the consideration provided by SKAT for the obligations in Phase II is
contained in Sections 8 and 9 of the Settlement Agreement. Each of these obligations reflected
the paramount concern of Stein, Lhote, and McGee about the possibility of being criminally
charged by SØIK, their desire to minimize the chances that SØIK would initiate criminal charges
against them in Denmark, and SKAT’s recognition of these motivations.

         61.     First, SKAT and Stein, Lhote, and McGee agreed that the Settlement Agreement
“is, and is intended to be maintained as, confidential to the fullest extent possible under Danish
law, New York law or the law applicable in any jurisdiction in which [SKAT] seeks to use”
information provided by Stein, Lhote, and McGee as a result of their obligation to cooperate with
SKAT. As a result, SKAT and Stein, Lhote, and McGee “agree[d] to use their respective best
efforts to maintain such confidentiality consistent with the terms set forth in” Section 8.

        62.     Second, SKAT promised that it would limit disclosure of the Settlement
Agreement, or its contents, to only the Danish Ministry of Taxation and to various other
components of the Danish government, with disclosure being solely for the “purpose of seeking
authority for the entry into th[e Settlement] Agreement by [SKAT] or if compelled by operation
of law or regulation.”

      63.     SKAT was also permitted to publicly disclose limited aspects of the Settlement
Agreement. Those aspects that could be disclosed did not include the identity of Stein, Lhote,
McGee, or the other parties to the Settlement Agreement.

       64.     Third, SKAT promised to give prompt, written notice to SØIK of certain exact
matters specified in detail in Section 8(f) of Settlement Agreement. Specifically, SKAT promised
that:




       65.     The requirements of Section 8(f) of the Settlement Agreement, including the
writing requirement, were material.




4886-1895-1921
4886-1895-1921
      Case 1:23-cv-02508-NRB         Document 136-1        Filed 12/26/24     Page 7 of 18
                                                                            Exhibit A to Letter,
                                                                      dated December 26, 2024
                                                                                        Page 6

        66.    Because Stein, Lhote, and McGee were concerned of the possibility of criminal
charges in Denmark and sought to minimize the chances that SØIK would initiate criminal
charges against them in Denmark, which SKAT recognized, it was of the utmost importance to
Stein, Lhote, and McGee that SKAT itself -- which claimed to be the victim of a fraudulent
scheme -- and not anyone else, including Stein, Lhote, and McGee themselves, promptly
communicate to SØIK Stein, Lhote, and McGee’s good faith efforts to make SKAT whole, their
cooperation with SKAT, the substantial payments made under the Settlement Agreement, and the
requirement that there be further payments under the Settlement Agreement, among other things.

       67.     The writing required by Section 8(f) ensured that SØIK was informed of Stein,
Lhote, and McGee’s efforts and the terms of the Settlement Agreement via an official, written
statement of the views of SKAT. Without a writing, Stein, Lhote, and McGee:

              (a)     could not be assured that SØIK, including all of its various components,
was informed of Stein, Lhote, and McGee’s payments, contractual, commitments and efforts;

              (b)     could not be assured that any information imparted to SØIK would
become part of the official records and institutional memory of SØIK and would be
communicated widely within SØIK; and

               (c)    could not be assured that the information imparted pursuant to Section 8(f)
would be available in precisely the words agreed to by the parties to the Settlement Agreement to
influence new and different actors within SØIK that might ultimately play a role in the decision
whether to criminally charge Stein, Lhote, and McGee.

        68.     The requirements of Section 8(f) were also material because, among other
reasons, it was important that the Danish prosecutor, SØIK, be made aware promptly upon
execution of the Settlement Agreement and in writing that the understanding of the parties to the
Settlement Agreement and a “fundamental principle” on which it was based was that Stein,
Lhote, and McGee were paying to SKAT the full amount of proceeds that Stein, Lhote, and
McGee received directly or indirectly as a result of tax refund applications that were made to
SKAT and that were the basis of SKAT’s claims against Stein, Lhote, and McGee, which SKAT
was releasing in the Settlement Agreement. Beyond that, it was important, and was reflected in
the Settlement Agreement, that SØIK be made aware promptly and in writing that Stein, Lhote,
and McGee “ha[d] expressed a willingness to use their best efforts and full cooperation to assist
[SKAT] in various proceedings related to the subject matter” of the dividend tax refund
applications at issue.

        69.     Finally, the Settlement Agreement contained in Section 9 a non-disparagement
clause that, in general, precluded SKAT, among others, from making statements that were
“disparaging, derogatory or defamatory of or reasonably likely to damage” Stein, Lhote, and
McGee, their reputations, business or affairs, nor could SKAT induce any person or entity to do
so.




4886-1895-1921
4886-1895-1921
      Case 1:23-cv-02508-NRB       Document 136-1       Filed 12/26/24     Page 8 of 18
                                                                         Exhibit A to Letter,
                                                                   dated December 26, 2024
                                                                                     Page 7

SKAT’s Answer and Affirmative Defenses to First Amended Complaint ¶ 53:

         53.    To the extent Paragraph 53 characterizes or summarizes the Settlement
Agreement, SKAT respectfully refers the Court to the Settlement Agreement, which speaks for
itself. SKAT specifically denies that the Settlement Agreement divides SKAT’s and the Covered
Parties’ obligations into two phases and denies any remaining allegations in Paragraph 53.




4886-1895-1921
4886-1895-1921
      Case 1:23-cv-02508-NRB            Document 136-1         Filed 12/26/24      Page 9 of 18
                                                                                Exhibit A to Letter,
                                                                          dated December 26, 2024
                                                                                            Page 8

                             C. SKAT’s Communications With SØIK
                                  Plaintiffs’ Interrogatory No. 6

Plaintiffs’ Interrogatory No. 6:

         Explain in detail the nature of the telephone call between Per Fiig and Gry Ahlefeld-
         Engel referred to in STEIN_LHOTE0008977, including date and time of any such
         telephone call and the substance of any such telephone call.

SKAT’s Response to Plaintiffs’ Interrogatory No. 6:

         SKAT incorporates by reference Objections 2 and 3. SKAT objects as Interrogatory No.
         6 is inconsistent with the Court’s ruling that the time period for discovery in this action is
         “between March 2019 to June 2021 . . . given that this time period meaningfully
         encompasses the sole claim of breach alleged in plaintiffs’ complaint.” (ECF 88 at 4.)
         The cited correspondence in STEIN_LHOTE0008977 refers to a phone call on or about
         February 3, 2022, which is well outside the date range established by the Court and is
         irrelevant. In addition, the email chain referenced in Interrogatory No. 6 appears to relate
         to an inquiry by SØIK about information concerning Guenther Klar, Rajen Shah, Anupe
         Dhorajiwala, and Graham Horn, none of whom are parties to this action or to the
         Settlement Agreement. The Court previously ruled that “since movants are criminal
         defendants in proceedings commenced by SØIK, movants may not use this case to obtain
         discovery for use in the criminal case which may not be available to them in that
         proceeding.” (ECF 88 at 5.). Based on these objections, SKAT will not respond to
         Interrogatory No. 6.

         SKAT further objects as Interrogatory No. 6 is vague to the extent it seeks information
         concerning the “nature” of the telephone conversation.

Plaintiffs’ Amended Complaint ¶ 70:

        70.    Despite the simplicity of complying with these obligations and the ease with
which it could have done so, SKAT did not fulfill, and breached the obligations in Section 8(f) of
the Settlement Agreement to “promptly upon the execution of the Settlement Agreement”:

                (a)     “in writing” “bring to the attention of SØIK “th[e Settlement] Agreement
and its terms”; and

                 (b)    “represent, in writing, that th[e Settlement] Agreement reflects good-faith
negotiation by [Stein, Lhote, and McGee], that . . . cooperation [Stein, Lhote, and McGee] may
result in the recovery by [SKAT] of additional funds from third parties and that th[e Settlement
Agreement] is in the best interests of [SKAT].”




4886-1895-1921
4886-1895-1921
     Case 1:23-cv-02508-NRB           Document 136-1         Filed 12/26/24     Page 10 of 18
                                                                               Exhibit A to Letter,
                                                                         dated December 26, 2024
                                                                                           Page 9

                            D. Residences for Purposes of CPLR 3218
                           Plaintiffs’ RFAs 23-30/McGee’s RFAs 25-32

Plaintiffs’ RFA No. 23/McGee’s RFA No. 25:

         Admit that, as of June 8, 2021, there is no evidence that Lhote intended to maintain a
         permanent place of abode in the State of New York.

SKAT’s Response to Plaintiffs’ RFA No. 23/McGee’s RFA No. 25:

         Deny knowledge or information sufficient to admit or deny Request No. 23 [or 25].

Plaintiffs’ RFA No. 24/McGee’s RFA No. 26:

         Admit that, as of June 8, 2021, Lhote’s children were enrolled in school in the State of
         Florida.

SKAT’s Response to Plaintiffs’ RFA No. 24/McGee’s RFA No. 26:

         Deny knowledge or information sufficient to admit or deny Request No. 24 [or 26],
         except admit only that Plaintiffs have produced a document that purports to be an invoice
         from a school.

Plaintiffs’ RFA No. 25/McGee’s RFA No. 27:

         Admit that, as of June 8, 2021, Lhote’s vehicle was registered in the State of Florida.

SKAT’s Response to Plaintiffs’ RFA No. 25/McGee’s RFA No. 27:

         Deny knowledge or information sufficient to admit or deny Request No. 25 [or 27],
         except admit only that Plaintiffs have produced a document that purports to be a vehicle
         registration from Florida.

Plaintiffs’ RFA No. 26/McGee’s RFA No. 28:

         Admit that, as of June 8, 2021, Lhote’s driver’s license was issued by the State of Florida.

SKAT’s Response to Plaintiffs’ RFA No. 26/McGee’s RFA No. 28:

         Deny knowledge or information sufficient to admit or deny Request No. 26 [or 28],
         except admit only that Plaintiffs have produced a document that purports to be a Florida
         driver’s license.

Plaintiffs’ RFA No. 27/McGee’s RFA No. 29:

         Admit that, as of June 8, 2021, Lhote maintained a permanent place of abode in the State
         of Florida.


4886-1895-1921
4886-1895-1921
     Case 1:23-cv-02508-NRB          Document 136-1        Filed 12/26/24      Page 11 of 18
                                                                             Exhibit A to Letter,
                                                                       dated December 26, 2024
                                                                                        Page 10

SKAT’s Response to Plaintiffs’ RFA No. 27/McGee’s RFA No. 29:

         Deny knowledge or information sufficient to admit or deny this Request as to whether
         Lhote’s Florida residence was a “permanent place of abode.”

Plaintiffs’ RFA No. 28/McGee’s RFA No. 30:

         Admit that, as of June 9, 2021, there is no evidence that McGee intended to maintain a
         permanent place of abode in the State of New York.

SKAT’s Response to Plaintiffs’ RFA No. 28/McGee’s RFA No. 30:

         Denied.

Plaintiffs’ RFA No. 29/McGee’s RFA No. 31:

         Admit that, as of June 9, 2021, McGee’s vehicle was registered in the State of
         Pennsylvania.

SKAT’s Response to Plaintiffs’ RFA No. 29/McGee’s RFA No. 31:

         Deny knowledge or information sufficient to admit or deny Request No. 29 [or 31],
         except admit only that McGee has produced a document that purports to be a
         Pennsylvania vehicle registration.

Plaintiffs’ RFA No. 30/McGee’s RFA No. 32:

         Admit that, as of June 9, 2021, McGee maintained a permanent place of abode in
         Pennsylvania.

SKAT’s Response to Plaintiffs’ RFA No. 30/McGee’s RFA No. 32:

         Deny knowledge or information sufficient to admit or deny Request No. 30 [or 32].

Plaintiffs’ Amended Complaint ¶¶ 9-12:

        9.     As part of the first phase of the settlement agreement, Stein, Lhote, and McGee
were required to provide an affidavit of confession of judgment to facilitate SKAT’s collection
of contractually required payments to be made during the second phase of the settlement
agreement and in the event of a breach during the second phase. The second phase of the
settlement agreement also required Stein, Lhote, and McGee to later provide a further affidavit of
confession of judgment because, under applicable New York law, an affidavit of confession of
judgment may not be filed more than three years after its execution.

       10.     By the time that Stein, Lhote, and McGee provided a further affidavit of
confession of judgment in 2021, Lhote was no longer a resident of the State of New York. He
does not currently have any residence in the State of New York and has no present intention to


4886-1895-1921
4886-1895-1921
     Case 1:23-cv-02508-NRB           Document 136-1         Filed 12/26/24      Page 12 of 18
                                                                               Exhibit A to Letter,
                                                                         dated December 26, 2024
                                                                                          Page 11

establish any residence in the State of New York. And, at the time that McGee provided the
initial affidavit of confession of judgment in 2019 and in 2021 when McGee provided a further
affidavit of confession of judgment, McGee did not have any residence in the State of New York.

       11.      Under New York law in effect since late August 2019, an affidavit of confession of
judgment may only be filed in the county within the State of New York where the debtor resided
when the affidavit was executed or where the debtor resides at the time of the filing.

        12.      Because Lhote and McGee did not reside in any county in the State of New York
when the further affidavit of confession of judgment was executed in 2021, do not presently reside in
any county in New York, and have no present intention to reside in any county in New York, it is
invalid as to them. In addition, the further confession of judgment provided in 2021 does not meet the
requirements of New York law and, as such, is unenforceable as to Stein, Lhote, and McGee for that
additional reason.




4886-1895-1921
4886-1895-1921
     Case 1:23-cv-02508-NRB           Document 136-1         Filed 12/26/24      Page 13 of 18
                                                                               Exhibit A to Letter,
                                                                         dated December 26, 2024
                                                                                          Page 12

                                    E. SKAT’s NCB Allegations
                 Plaintiffs’ Interrogatories 18-20; McGee’s Interrogatories 13-14
                                Plaintiffs’ RFA 38/McGee’s RFA 40

Plaintiffs’ Interrogatory No. 18/McGee’s Interrogatory No. 13:

         Describe, in detail, the basis for the allegation that “[t]he Covered Parties’ obligations
         under the settlement agreement to return the Bank Fees is not dependent on the
         realization through a sale of their interest in North Channel Bank,” including in light of
         paragraphs 7 and 11 of the Letter Agreement and Section 2(e) of the Settlement
         Agreement.

SKAT’s Response to Plaintiffs’ Interrogatory No. 18/McGee’s Interrogatory No. 13:

         SKAT incorporates by reference Objection 3. Subject to and without waiving any
         objections, SKAT responds that, pursuant to Whereas Clause F of the Settlement
         Agreement, it is a “fundamental principle” of the Agreement that the Covered Parties are
         paying to SKAT the full amount of Net Proceeds, as defined in the Settlement
         Agreement, that the Covered Parties received directly or indirectly from Reclaim
         Applications made to SKAT. Section 2(e) of the Settlement Agreement defines Net
         Proceeds, and identifies categories of expenses the Covered Parties could deduct from
         Gross Reclaims, but only to the extent such expenses “were not otherwise subsequently
         provided to any other Covered Party.” Section 2(e)(i) requires the Covered Parties to use
         their best efforts to provide SKAT with documentation “sufficient to establish the total
         amount of Net Proceeds received by the Covered Parties directly or indirectly from the
         Reclaim Applications.” Section 2(f) of the Settlement Agreement requires the Covered
         Parties Designees to represent that “(A) the Preliminary Settlement Amount plus the
         True-Up Amount equals or exceeds the Net Proceeds received by the Covered Parties,
         directly or indirectly, from the Reclaim Applications and (B) on payment of the full
         amount of the Subsequent Cash Payment Amount, the Covered Parties will have paid
         back to Skatteforvaltningen the Net Proceeds that they received, directly or indirectly,
         from the Reclaim Applications.”

Plaintiffs’ Interrogatory No. 19:

         Describe, in detail, the basis for the allegation that “[t]he settlement agreement does not
         provide for the windfall that would arise if the Covered Parties’ Designees kept the value
         of the Bank Fees, which would violate the guiding principle of the settlement agreement
         that the Covered Parties return all the proceeds from the fraud they perpetrated on
         SKAT,” including in light of paragraphs 7 and 11 of the Letter Agreement and Section
         2(e) of the Settlement Agreement.

SKAT’s Response to Plaintiffs’ Interrogatory No. 19:

         SKAT incorporates by reference Objection 3. Subject to and without waiving any
         objections, SKAT responds by referring to its Response to Interrogatory No. 18.


4886-1895-1921
4886-1895-1921
     Case 1:23-cv-02508-NRB          Document 136-1        Filed 12/26/24      Page 14 of 18
                                                                             Exhibit A to Letter,
                                                                       dated December 26, 2024
                                                                                        Page 13

Plaintiffs’ Interrogatory No. 20/McGee’s Interrogatory No. 14:

         Explain, in detail, the basis in the Settlement Agreement for why DKK 55 million of fees
         paid to North Channel Bank should be included in Net Proceeds, as alleged in paragraph
         158 of SKAT’s First Amended Answer, Affirmative Defenses, and Counterclaims.

SKAT’s Response to Plaintiffs’ Interrogatory No. 20/McGee’s Interrogatory No. 14:

         SKAT incorporates by reference Objection 3. Subject to and without waiving any
         objections, SKAT responds by referring to its Response to Interrogatory No. 18. In
         addition, in the calculation of Net Proceeds provided by the Covered Parties to SKAT,
         the Covered Parties deducted fees paid to North Channel Bank from Gross Reclaims.
         Such deductions include payments made directly by the settling plans to North Channel
         Bank, in the amount of DKK 24,966,021, and fees paid by the settling plans to counter-
         parties in their purported stock purchase, stock loan, and forward transactions, which
         counter-parties then paid fees to North Channel Bank.

Plaintiffs’ RFA No. 38/McGee’s RFA No. 40:

         Admit that North Channel Bank generated more than €1 million in revenue in both 2014
         and 2015 as a result of its activities associated with the financing of life insurance
         policies.

SKAT’s Response to Plaintiffs’ RFA No. 38/McGee’s RFA No. 40:

         Deny knowledge or information sufficient to admit or deny Request No. 38 [or 40].

Letter Agreement § 7:

         Letter Agreement Parties shall ask the management of North Channel Bank to certify the
         amount of the fees (the "Bank Fees") that North Channel Bank received arising from or
         related to dividend tax reclaim applications submitted to Skatteforvaltningen. Upon the
         sale of North Channel Bank, fifty million (50,000,000) DKK or the amount of the Bank
         Fees, whichever amount is greater, of the sale proceeds shall be used to make a separate
         payment, (the “Payment of Fees”) on behalf of the Letter Agreement Parties to
         Skatteforvaltningen, representing disgorgement of the fees received by North Channel
         Bank arising from or related to the dividend tax reclaim applications submitted to
         Skatteforvaltningen; this Payment of Fees shall not be counted towards the payment of
         the Final Settlement Amount or any other payment required under the Settlement
         Agreement. The Letter Agreement Parties agree to promptly pay the remaining proceeds
         of the sale of North Channel Bank, after the Payment of Pees, North Channel Bank's sale-
         related fees and costs and agreed-upon payments to be made to Belgian governmental
         authorities, to Skatteforvaltningen to satisfy the payment of the Final Settlement Amount.




4886-1895-1921
4886-1895-1921
     Case 1:23-cv-02508-NRB           Document 136-1        Filed 12/26/24     Page 15 of 18
                                                                             Exhibit A to Letter,
                                                                       dated December 26, 2024
                                                                                        Page 14

Letter Agreement § 11:

         11.     This Letter Agreement constitutes the entire agreement among the Letter
         Agreement Parties with respect to the subject matter hereof and supersedes any previous
         agreements or understandings among the Letter Agreement Parties, express or implied,
         with respect to the same subject matter, except that all prior confidentiality agreements
         among the Parties shall remain in full force and effect. No amendment, supplement or
         modification of this Letter Agreement, or waiver of rights hereunder, shall be binding
         unless executed in writing by all Letter Agreement Parties and specifically referencing
         this Letter Agreement.

SKAT’s Amended Answer, Affirmative Defenses & Counterclaims ¶¶ 158-160:

        158. First, the Covered Parties improperly deducted DKK 55 million paid as fees to
North Channel Bank, notwithstanding that the Bank subsequently returned to the Covered Parties
that DKK 55 million in the form of dividends. Over the course of 2014 and 2015, North Channel
Bank collected DKK 55 million in fees from its participation in the fraud on SKAT, during
which time it had little to no other business. During that same period, North Channel Bank issued
more than € 9.2 million (well over DKK 55 million) in dividends to its shareholders, including to
Stein, Lhote, and McGee. North Channel Bank did not issue dividends in any other year during
which the Covered Parties’ Designees had a controlling interest in the bank.

         159. On the same day the settlement agreement was executed, SKAT entered into a
side letter agreement with Stein, Lhote, McGee, and other Covered Parties. The side letter
provided that these individuals would liquidate certain assets, and the proceeds would be paid to
SKAT. In the side letter, the Covered Parties that executed it represented to SKAT that they
expected North Channel Bank would be sold by December 2021 for approximately DKK 320
million. And they further agreed to provide SKAT with quarterly progress reports on the
liquidation of their interests in North Channel Bank and the other assets specified therein. The
side letter set out a series of payments to be made when North Channel Bank was sold. First,
SKAT would receive the greater of DKK 50 million or the amount of fees North Channel Bank
received from the refunds paid by SKAT (the “Bank Fees”), which North Channel Bank
subsequently admitted, in pleading guilty to fraud in Denmark, totaled DKK 55 million. After
payment of the Bank Fees and North Channel Bank’s sale-related fees and costs, the remaining
proceeds of the sale were to be split proportionally between SKAT, in at least partial satisfaction
of the amounts due under the settlement agreement, and the Belgian governmental authorities
based on the amount of fraudulent refunds each paid to the pension plans based on false dividend
credit advices issued by North Channel Bank, which split was approximately 87 percent to
SKAT and 13 percent to Belgium.

        160. Contrary to the representation in the letter agreement, North Channel Bank has
not been sold and the letter agreement parties failed to provide SKAT with all the quarterly
reports they were obligated to provide. North Channel Bank entered into insolvent administration
in Germany in January 2023. The Covered Parties’ obligations under the settlement agreement to
return the Bank Fees is not dependent on the realization through a sale of their interest in North



4886-1895-1921
4886-1895-1921
     Case 1:23-cv-02508-NRB        Document 136-1        Filed 12/26/24     Page 16 of 18
                                                                           Exhibit A to Letter,
                                                                     dated December 26, 2024
                                                                                      Page 15

Channel Bank. The settlement agreement does not provide for the windfall that would arise if the
Covered Parties’ Designees kept the value of the Bank Fees, which would violate the guiding
principle of the settlement agreement that the Covered Parties return all the proceeds from the
fraud they perpetrated on SKAT.




4886-1895-1921
4886-1895-1921
     Case 1:23-cv-02508-NRB          Document 136-1        Filed 12/26/24      Page 17 of 18
                                                                             Exhibit A to Letter,
                                                                       dated December 26, 2024
                                                                                        Page 16

                      F. SKAT’s Compliance with the Settlement Agreement
                            Plaintiffs’ RFAs 2-4; McGee’s RFAs 2-4

Plaintiffs’ RFA No. 2/McGee’s RFA No. 2:

         Admit that SKAT_MAPLEPOINT_00000027 was not sent promptly upon execution of
         the Settlement Agreement.

SKAT’s Response to Plaintiffs’ RFA No. 2/McGee’s RFA No. 2:

         Admitted that the correspondence in SKAT_MAPLEPOINT_00000027 is dated May 15,
         2019, which was not after May 28, 2019, the date of execution of the Settlement
         Agreement.

Plaintiffs’ RFA No. 3/McGee’s RFA No. 3:

         Admit that SKAT_MAPLEPOINT_00000040 was not sent promptly upon execution of
         the Settlement Agreement.

SKAT’s Response to Plaintiffs’ RFA No. 3/McGee’s RFA No. 3:

         Admitted that the correspondence in SKAT_MAPLEPOINT_00000040 is dated May 21,
         2019, which was not after May 28, 2019, the date of execution of the Settlement
         Agreement.

Plaintiffs’ RFA No. 4/McGee’s RFA No. 4:

         Admit that SKAT_MAPLEPOINT_00000072-73 was not sent promptly upon execution
         of the Settlement Agreement.

SKAT’s Response to Plaintiffs’ RFA No. 4/McGee’s RFA No. 4:

         Admitted that the correspondence in SKAT_MAPLEPOINT_00000072-73 is dated May
         21, 2019 and May 23, 2019, which were not after May 28, 2019, the date of execution of
         the Settlement Agreement.

Plaintiffs’ Amended Complaint ¶ 70:

        70.    Despite the simplicity of complying with these obligations and the ease with
which it could have done so, SKAT did not fulfill, and breached the obligations in Section 8(f) of
the Settlement Agreement to “promptly upon the execution of the Settlement Agreement”:

                (a)     “in writing” “bring to the attention of SØIK “th[e Settlement] Agreement
and its terms”; and

               (b)     “represent, in writing, that th[e Settlement] Agreement reflects good-faith
negotiation by [Stein, Lhote, and McGee], that . . . cooperation [Stein, Lhote, and McGee] may


4886-1895-1921
4886-1895-1921
     Case 1:23-cv-02508-NRB         Document 136-1        Filed 12/26/24      Page 18 of 18
                                                                            Exhibit A to Letter,
                                                                      dated December 26, 2024
                                                                                       Page 17

result in the recovery by [SKAT] of additional funds from third parties and that th[e Settlement
Agreement] is in the best interests of [SKAT].”




4886-1895-1921
4886-1895-1921
